Case 4:07-cv-00886-MWB Document 181 Filed 11/01/10 Page 1 of 4

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JILL SIKKELEE, Individually and : Case No. 4:07-cv-00886
as Personal Representative of the :
ESTATE OF DAVID SIKKELEE, (Judge Jones)
deceased, :
Plaintitt COMPLAINT FILED:
v. May 16, 2007
PRECISION AIRMOTIVE

CORPORATION, et al.,

Defendants

STIPULATION OF DISMISSAL OF DEFENDANT TEXTRON INC. ONLY

WHEREAS defendants AVCO Corporation and its Lycoming Engines
Division, without admitting liability, stipulate that they are the proper party/parties
for all claims made against “the Textron defendants” by plaintiff in this litigation;
and

WHEREAS defendants AVCO Corporation and its Lycoming Engines

Division maintain/maintains sufficient liability insurance applicable to the claims

Case 4:07-cv-00886-MWB Document 181 Filed 11/01/10 Page 2 of 4

and allegations raised in plaintiff's complaint and amended complaint in
accordance with the terms and conditions of said policy, including coverage limits,
and there are no known policy defenses; and

IT IS HEREBY STIPULATED, CONSENTED TO AND AGREED by and
between undersigned counsel and parties that defendants AVCO Corporation and
its Lycoming Engines Division, without admitting liability, is/are the proper party
to respond to all allegations set forth in plaintiff's complaint and amended
complaint herein; and

IT IS FURTHER STIPULATED, CONSENTED TO, AND AGREED by
and between undersigned counsel and parties that defendants AVCO Corporation
and its Lycoming Engines Division, without admitting liability, maintains/maintain
sufficient liability insurance applicable to the claims and allegations raised in
plaintiff's amended complaint in accordance with the terms and conditions of said
policy including coverage limits, and there are no known policy defenses; and

IT IS FURTHER STIPULATED, CONSENTED TO, AND AGREED by
and between undersigned counsel and the parties, that plaintiff, Jill Sikkelee,
Individually and as Personal Representative of the Estate of David Sikkelee,
deceased, hereby dismisses defendant Textron Inc. ONLY from this litigation with

prejudice and without costs to any party; and

Case 4:07-cv-00886-MWB Document 181 Filed 11/01/10 Page 3 of 4

IT IS FURTHER STIPULATED, CONSENTED TO, AND AGREED by
and between undersigned counsel and parties that each signatory to this Stipulation
of Dismissal has the requisite authority to execute this Stipulation and further that

the undersigned counsel has the authority to bind, and by virtue of this Stipulation,

do bind their respective clients.

Dated: November 1, 2010

By: _Qttunw Db. MeClipnn by obs By: Chth it hire

“John D. McClune w/ pevm issiav Catherine Slavin

KATZMAN LAMBERT & COZEN O’CONNOR

MCCLUNE 1900 Market Street

100 W. Big Beaver Road Philadelphia, PA 19103

Suite 130 (215) 665-2000
Troy, MI 48084 Attorney for Defendants AVCO
(248) 258-4800 Corporation, on behalf of its
Attorney for Plaintiff Lycoming Engines Division,
Jill Sikkelee and Textron Inc.

SO ORDERED THIS DAY OF >

2010.
BY THE COURT:

Case 4:07-cv-00886-MWB Document 181 Filed 11/01/10 Page 4 of 4

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that, on November 1, 2010, a true and correct copy of
the foregoing Stipulation of Dismissal of Defendant Textron Inc. Only was
served by electronic means, upon all counsel of record through the Court’s ECF

system.

Chth sha ein
Catherine Slavin, Esquire (PA 48360)
Sara Anderson Frey, Esquire (PA 82835)
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Attorneys for Defendants AVCO
Corporation, on behalf of its Lycoming
Engines Division, and Textron Inc.

